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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JUSTIN O’CONNOR, et al., on                   )
behalf of himself and all others              )
similarly situated,                           )
                                              )
               Plaintiffs,                    )   No. 19-cv-5045
                                              )
                               v.             )   Judge Jeffrey I. Cummings
                                              )
FORD MOTOR CO.,                               )
                                              )
               Defendant.                     )

                          MEMORANDUM OPINION AND ORDER

       Plaintiffs Michael Barcelona, Susan Heller, Bryan Smith, Jason Steen, and Stanislaw

Zielinski (collectively, “plaintiffs”) bring this putative class action against defendant Ford Motor

Company (“defendant” or “Ford”) for damages allegedly arising out of defendant’s sale and

lease of 2017 to 2020 Model Year Ford F-150 trucks with defective 10-speed automatic

transmissions. Relevant here are plaintiffs’ claims under the Magnuson-Moss Warranty Act

(“MMWA”), which provides that “a consumer who is damaged by the failure of a supplier,

warrantor, or service contractor to comply with any obligation under this chapter, or under a

written warranty, implied warranty, or service contract, may bring suit for damages and other

legal and equitable relief.” 15 U.S.C. §2310(d)(1).

       The parties have filed competing motions for class certification and for denial of class

certification, in which they dispute, among many other disputes, whether plaintiffs meet

MMWA’s jurisdictional requirements for a class action. After first raising this issue in its motion

to deny class certification, (Dckt. #330 at 26-27), Ford filed a separate partial motion to dismiss

plaintiffs’ MMWA claims for lack of subject matter jurisdiction, (Dckt. #381), again arguing that
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plaintiffs have failed to satisfy MMWA’s jurisdictional requirements because there are not 100

named plaintiffs. See 15 U.S.C. §2310(d). In response, the five remaining named plaintiffs

concede that they do not meet the jurisdictional requirement of the MMWA requiring 100 named

plaintiffs, but argue that the Court can either exercise original jurisdiction over their MMWA

claims under the Class Action Fairness Act (“CAFA”), 28 U.S.C. §1711 et seq., or exercise

supplemental jurisdiction pursuant to 28 U.S.C. §1367(a). For the reasons set forth below, the

Court finds that it can exercise jurisdiction under CAFA and therefore denies defendant’s motion

to dismiss, (Dckt. #381).

I.       LEGAL STANDARD UNDER RULE 12(b)(1)

         Under Rule 12(b)(1), a claim should be dismissed if the federal court lacks jurisdiction

over the subject matter of the claim.1 “Motions to dismiss under Rule 12(b)(1) are meant to test

the sufficiency of the complaint, not to decide the merits of the case,” and the Court “accept[s] as

true the well pleaded factual allegations, drawing all reasonable inferences in favor of the

plaintiff” when determining whether there is subject matter jurisdiction. Ctr. for Dermatology &

Skin Cancer, Ltd. v. Burwell, 770 F.3d 586, 588 (7th Cir. 2014) (cleaned up). Nevertheless, “a

plaintiff faced with a 12(b)(1) motion to dismiss bears the burden of establishing that the

jurisdictional requirements have been met.” Id. at 588-89.




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  It is of no moment that Ford raised its attack on subject matter jurisdiction four and a half years into this
case because “[s]ettled precedent holds that ‘[n]o party can waive or forfeit a lack of subject-matter
jurisdiction.’” W.C. Motor Co. v. Talley, 63 F.Supp.3d 843, 852 (N.D.Ill. 2014), quoting United States v.
Adigun, 703 F.3d 1014, 1022 (7th Cir. 2012).



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II.     RELEVANT BACKGROUND2

        Plaintiffs bring this putative class action on behalf of all similarly situated individuals

who purchased or leased Ford’s 2017 to 2020 Model Year F-150 trucks equipped with a 10-speed

“10R80 Transmission” that suffers from a defect (hereinafter, the “Class Vehicles”). According

to plaintiffs, from the beginning of Ford’s development of its 10R80 Transmission – which

served to replace Ford’s 6-speed “6R80 Transmission” – “Ford has been aware of harsh, jerky,

erratic, lunging, hesitating, and otherwise inconsistent shifting in the 10R80 Transmission, but

has been unable to resolve these malfunctions caused by the ‘Defect.’” (Dckt. #325 at 8). In

plaintiffs’ view, “the Defect is the inability of the Transmission’s internal seals to maintain the

intended and necessary pressure on either side of the seal to ensure secure and timely

engagements of each clutch required for a specific gear.” (Dckt. #325 at 8). For its part, Ford

denies that there is any such defect in its 10R80 Transmission.

        In their pending motion for class certification, the five named plaintiffs ask the Court to

certify a class on behalf of similarly situated individuals in their respective states, i.e.,

Massachusetts (Barcelona), New York (Heller), California (Smith and Steen), and Zielinski

(Illinois). Specifically, plaintiffs seek to represent:

        All persons in [STATE] who formerly or currently own or leased one or more 2017-
        2020 Model Year F-150 truck equipped with a 10R80 10-speed automatic
        transmission.

(Dckt. #325 at 8-9). On behalf of these putative class members, plaintiffs bring numerous state

law claims for breach of implied and express warranty, fraudulent omission, and violation of

consumer protection statutes. Plaintiffs also bring claims for breach of warranty in violation of



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  The Court presumes familiarity with the facts of this case and includes only those facts that are relevant
to defendant’s motion to dismiss for lack of subject matter jurisdiction.



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the MMWA, which Ford now asks the Court to dismiss pursuant to Rule 12(b)(1) for lack of

subject matter jurisdiction.

III.    ANALYSIS

        Congress passed the Magnuson-Moss Warranty Act of 1975 “in response to perceived

problems with warranties on consumer goods.” In re Generac Solar Power Sys. Mktg., Sales

Pracs., & Prods. Liab. Litig., 735 F.Supp.3d 1036, 1040 (E.D.Wis. 2024) (citing Kurt A.

Strasser, Magnuson-Moss Warranty Act: An Overview and Comparison with UCC Coverage,

Disclaimer, and Remedies in Consumer Warranties, 27 Mercer L. Rev. 1111, 1113 (1976)). “The

Act aims to make warranties more understandable to the consumer and to create a mechanism for

more easily enforcing express or implied warranties.” In re Generac, 735 F.Supp.3d at 1040

(citing Strasser).

        Pursuant to the MMWA, “a consumer who is damaged by the failure of a supplier,

warrantor, or service contractor to comply with any obligation under this chapter, or under a

written warranty, implied warranty, or service contract, may bring suit for damages and other

legal and equitable relief –

        (A) in any court of competent jurisdiction in any State or the District of Columbia;
        or

        (B) in an appropriate district court of the United States, subject to paragraph (3) of
        this subsection.”

15 U.S.C. §2310(d)(1). Pursuant to paragraph (3), “[n]o claim shall be cognizable” in a suit

brought under subsection (B):

        (A) if the amount in controversy of any individual claim is less than the sum or
        value of $25;

        (B) if the amount in controversy is less than the sum or value of $50,000 (exclusive
        of interests and costs) computed on the basis of all claims to be determined in this
        suit; or



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        (C) if the action is brought as a class action, and the number of named plaintiffs is
        less than one hundred.

15 U.S.C. §2310(d)(3) (emphasis added).

        Again, Ford now asks the Court to dismiss plaintiffs’ MMWA claims for lack of subject

jurisdiction, arguing that plaintiffs have failed to satisfy the jurisdictional requirements of

subsection (B) of the MMWA, which requires there to be 100 named plaintiffs to proceed in

federal court. In response, the remaining named plaintiffs (there are only five) concede that they

do not satisfy the 100-named plaintiff requirement of the MMWA, but argue that: (1) the Court is

otherwise a court of “competent jurisdiction” under subsection (A) of the MMWA; (2) the Court

may exercise jurisdiction over MMWA claims pursuant to CAFA even without 100 named

plaintiffs3; and (3) alternatively, the Court may exercise supplemental jurisdiction pursuant to 28

U.S.C. §1367(a). The Court agrees, in part, with plaintiffs.

        A.      Subsection (A) does not independently afford this Court jurisdiction over
                plaintiffs’ MMWA claims.

        The Court quickly disposes of plaintiffs’ argument that the Court may simply exercise

jurisdiction over their MMWA claims pursuant to subsection (A) of the MMWA without

consideration of the 100-named plaintiff requirement. Again, subsection (A) affords jurisdiction

to “any court of competent jurisdiction in any State or the District of Columbia.” 15 U.S.C.

§2310(d)(1). In plaintiffs’ view then, the Court has jurisdiction under subsection (A) and need

not reach the additional jurisdictional requirements of subsection (B).



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  Ford argues that plaintiffs have waived this argument because they chose not to address it – at least in
the context of subsection (B) – in response to defendant’s motion to dismiss. However, plaintiffs
addressed this general argument, at least in part, in response to Ford’s motion to deny class certification,
(Dckt. #367 at 25-26), which prompted Ford to also address the issue at the outset in its motion to
dismiss. As such, the potential prejudicial implications of waiver are not at play here.



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       As Ford argues, however, and as many courts have held, subsection (A) “governs those

cases brought in state or local courts in any state or the district of Columbia, while subsection (B)

provides for jurisdiction in federal courts.” Smith v. Abbott Lab’ys Inc., No. 20-CV-

5684(EK)(MMH), 2023 WL 6121798, at *3 (E.D.N.Y. Sept. 19, 2023); see also Opheim v.

Volkswagen Aktiengesellschaft, No. CV2002483KMESK, 2021 WL 2621689, at *12 (D.N.J.

June 25, 2021). This is so because to interpret subsection (A) to include federal district courts

would render subsection (B) superfluous in violation of the plain rules of statutory interpretation.

See River Rd. Hotel Partners, LLC v. Amalgamated Bank, 651 F.3d 642, 651 (7th Cir. 2011)

(“Interpretations that result in [statutory] provisions being superfluous are highly disfavored.”);

Opheim, 2021 WL 2621689, at *12 (“interpreting ‘court of competent jurisdiction’ to include

federal courts [would render Subsection (B) superfluous]; if ‘any’ court is covered, then

subsection (B), referring to ‘district court[s] of the United States’ is unnecessary”). Indeed, if

subsection (A) “was intended to provide an alternative path to federal court . . . Congress could

have said so expressly, as it did in § 2310(d)(1)(B).” Rowland v. Bissell Homecare, Inc., 73 F.4th

177, 180 (3d Cir. 2023).

       For these reasons, the Court finds that subsection (A) does not independently afford this

Court jurisdiction over plaintiffs’ MMWA claims and the 100-named plaintiff requirement of

subsection (B) remains in play (and unsatisfied by plaintiffs). The Court thus turns to whether it

may nonetheless exercise jurisdiction over plaintiffs’ MMWA claims pursuant to CAFA.

       B.      The Court may exercise jurisdiction over plaintiffs’ MMWA claims pursuant
               to CAFA.

       CAFA, enacted in 2005, grants district courts with original jurisdiction over any class

action – where, as here – “the amount in controversy exceeds the sum of $5,000,000 in the

aggregate; there is minimal diversity among the parties, i.e., any class member and any defendant



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are citizens of different states; and there are at least 100 members in the class.”4 Velez v. RM

Acquisition, LLC, 670 F.Supp.3d 620, 630 (N.D.Ill. 2023) (citing 28 U.S.C. §1332(d)(2)). The

Seventh Circuit has recognized that “CAFA was enacted to grant[] broad federal jurisdiction over

class actions and establishes narrow exceptions to such jurisdiction.” Appert v. Morgan Stanley

Dean Witter, Inc., 673 F.3d 609, 618 (7th Cir. 2012) (cleaned up); Saskatchewan Mut. Ins. Co. v.

CE Design, Ltd., 865 F.3d 537, 541 (7th Cir. 2017) (“It is true, as SMI stresses, that Congress

wanted courts to read CAFA broadly.”); Dominion Energy, Inc. v. City of Warren Police & Fire

Ret. Sys., 928 F.3d 325, 336 (4th Cir. 2019) (“we are obliged to construe and apply CAFA’s grant

of federal court jurisdiction broadly.”) (citing Appert, 673 F.3d at 618-19); see also S.Rep. No.

109-14, at 43, 45 (2005) (explaining that CAFA’s provisions granting federal court jurisdiction

broadly).

        However, the Seventh Circuit “has yet to address whether a class action based on

violations of the MMWA that does not satisfy the MMWA’s numerosity requirement but satisfies

CAFA may be brought in federal court,” and there is a split in the circuits regarding this issue.

Velez, 670 F.Supp.3d at 630; see also Ware v. Best Buy Stores, L.P., 6 F.4th 726, 733 n.2 (7th Cir.

2021) (recognizing the circuit split but declining to decide the issue). In particular, the Sixth

Circuit held that a district court may exercise jurisdiction under CAFA even if the plaintiff does

not satisfy MMWA’s jurisdictional requirements. Kuns v. Ford Motor Co., 543 Fed.Appx. 572,

574 (6th Cir. 2013). In contrast, the Ninth and the Third Circuits have held that CAFA does not

confer federal jurisdiction over MMWA claims that do not otherwise satisfy the MMWA’s


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  Ford does not dispute that plaintiffs satisfy the requirements of CAFA. To be sure, in plaintiffs’
amended complaint, plaintiffs alleged that the Court has jurisdiction under CAFA because there “are at
least 100 members in the proposed class, the aggregated claims of the individual Class Members exceed
the sum or value of $5,000,000.00 exclusive of interest and costs, and Plaintiffs and Class Members are
citizens of states different from Defendant.” (Dckt. #63 at 10). In its answer, Ford “admits that this Court
has subject matter jurisdiction over this action under 28 U.S.C. §1332(d).” (Dckt. #90 at 8).


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jurisdictional requirements. Rowland, 73 F.4th at 182-85; Floyd v. Am. Honda Motor Co., Inc.,

966 F.3d 1027 (9th Cir. 2020).5 District courts across the Circuits also remain split, although

many courts in the Seventh Circuit have found that CAFA does afford an independent basis for

federal jurisdiction under these circumstances. See, e.g, Velez, 670 F.Supp.3d at 630-31

(collecting cases); Castle v. Kroger Co., 634 F.Supp.3d 539, 564-66 (E.D.Wis. 2022); Van

Zeeland v. Rand McNally, 532 F.Supp.3d 557, 564 (N.D.Ill. 2021); Stella v. LVMH Perfumes &

Cosms. USA, Inc., 564 F.Supp.2d 833, 838 (N.D.Ill. 2008).

        In consideration of the Seventh Circuit’s guidance regarding the liberal construction of

CAFA, this Court is persuaded by the reasoning of the courts which have held that CAFA affords

jurisdiction even where MMWA’s jurisdictional requirements are not satisfied. As the Velez court

recently explained:

        CAFA was enacted to expand federal jurisdiction over class actions and when
        Congress enacted CAFA, it did so with the knowledge of the MMWA's
        jurisdictional requirements. Therefore, once plaintiffs have satisfied CAFA, the
        MMWA’s additional requirements do not apply.

Velez, 670 F.Supp.3d at 631-32 (cleaned up).

        This reasoning was recently expounded further by the In re Generac court, which

explained – after a thoughtful review of the purposes behind MMWA and CAFA and the

opinions from the Third and Ninth Circuits – that:

        Congress’s intent in enacting the jurisdiction-limiting provisions of the MMWA
        was to avoid creating federal jurisdiction over small warranty claims. But a class
        action in which the aggregate amount in controversy exceeds $5 million is not a
        small claim. Indeed, the Congress that passed the MMWA apparently viewed an
        aggregate amount in controversy of $50,000 as sufficient to warrant federal
        jurisdiction. See 15 U.S.C. § 2310(d)(3)(B). Thus, nothing in the text or history of
        the MMWA suggests that the Congress that passed the MMWA would have


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  The Court notes that it is not bound by the decisions from these other circuits and that it “owes no more
than respectful consideration to the views” stated therein. United States v. Glaser, 14 F.3d 1213, 1216
(7th Cir. 1994).


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        intended to preclude federal courts from exercising jurisdiction over an MMWA
        claim if the conditions specified in CAFA were met.

                                                 ***

        [A] better interpretation of the MMWA’s jurisdictional provisions is that Congress
        did not intend for them to strip federal courts of diversity jurisdiction. Under this
        interpretation, all the other reasons given by the Ninth and Third Circuits for
        holding that CAFA does not supply jurisdiction fall away. The balance of the Ninth
        Circuit’s reasoning focuses on whether a court should find that CAFA implicitly
        repealed the MMWA’s jurisdictional requirements by implication. This depends on
        the assumption that CAFA could be viewed as repealing the relevant part of the
        MMWA. But if the MMWA’s jurisdictional provisions do not apply to diversity
        jurisdiction in the first place, then CAFA does not in any sense “repeal” those
        provisions. Rather, each statute creates distinct jurisdictional requirements. Under
        CAFA, the parties must be minimally diverse, the aggregate amount in controversy
        must exceed $5 million, and there must be at least 100 class members. Under the
        MMWA, diversity is not required, but the aggregate amount in controversy must be
        at least $50,000 and there must be at least 100 named plaintiffs. These statutes can
        coexist: in cases where the parties are not minimally diverse or the aggregate
        amount in controversy is less than $5 million, the MMWA’s jurisdictional
        provisions will determine whether a federal court has jurisdiction. Therefore, a
        court must give effect to each statute.

In re Generac, 735 F.Supp.3d at 1046.

        After giving effect to each statute here – where it is undisputed that the parties are

minimally diverse, the amount in controversy exceeds $5 million and, and there are at least

100 class members – the Court concludes that CAFA provides an independent basis for

subject matter jurisdiction over plaintiffs’ MMWA claims.6




6
  Having reached this conclusion, the Court need not address plaintiffs’ alternative argument that the
Court may exercise supplemental jurisdiction over their MMWA claims pursuant to 28 U.S.C. §1367(a).
The Court notes, however, as did the Court in In re Generac, that the Seventh Circuit has twice implied
that a district court may exercise supplemental jurisdiction over an MMWA claim even where certain
requirements of the MMWA are not met. 735 F.Supp.3d at 1041 (citing Burzlaff v. Thoroughbred
Motorsports, Inc., 758 F.3d 841, 844-45 (7th Cir. 2014), and Voelker v. Porsche Cars North America, Inc.,
353 F.3d 516, 521-22 (7th Cir. 2003)).




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                                         CONCLUSION

       For the foregoing reasons, defendant’s partial motion to dismiss for lack of subject matter

jurisdiction, (Dckt. #381), is denied.


DATE: March 12, 2025




                                                            ________________________
                                                            Jeffrey I. Cummings
                                                            United States District Court Judge




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